54 F.3d 768
    Hyundai Corp. U.S.A., Inchon Iron &amp; Steel Co. Ltd.v.Hull Insurance Proceeds of M/V VULCA, Vulcan NavigationCorp., Hyundai Merchant Marine Co., Ltd.; HyundaiMerchant Marine Co. Ltd. v. ClarendonLimited, Hyundai MerchantMarine Co., Ltd.
    NO. 94-5599
    United States Court of Appeals,Third Circuit.
    Apr 11, 1995
    
      Appeal From:  D.N.J., No. 90-01589,
      Ackerman, Judge.
    
    
      1
      AFFIRMED.
    
    